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                         EXHIBIT E
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NYSCEF DOC. NO. 91                                                                    RECEIVED NYSCEF: 10/05/2022




                SUPREME COURT OF THE STATE OF NEW YORK
                COUNTY OF QUEENS
                ------------------------------------------------------------------------x
                Sanford Funding LLC                                                       Index No.
                                                                                          709057/2021
                                                              Plaintiff,

                                       -against-

                143-30 Sanford Ave LLC, Vincent Garofalo, New                               NOTICE OF ENTRY
                York City Environmental Control Board,
                Commissioner of Labor State of New York,
                Thermal Profiles, Inc., Criminal Court of the City
                of New York, Department of Housing
                Preservation and Development of the City of
                New York,

                John Doe #1 through John Doe #20 (Said names
                being fictitious, it being the intention of Plaintiff to
                designate any and all occupants of premises
                being foreclosed herein, including, without
                limitation, tenants or other occupants who may
                have some interest in or lien upon the Premises
                subordinate to the lien of the Plaintiff’s mortgage
                sought to be foreclosed herein),

                                                              Defendants
                ------------------------------------------------------------------------x


                       PLEASE TAKE NOTICE that the within is a true copy of an order

                entered in the office of the clerk of the within named Court, at 88-11

                Sutphin Boulevard Jamaica, NY 11435 on September 30, 2022.


                Dated:         Whitestone, New York
                               October 5, 2022



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                                        Borchert, & LaSpina, P.C.


                                            /s/ Jason Sackoor
                                        By:____________________________
                                          Jason Sackoor, Esq.
                                          Attorneys for Plaintiff
                                          Sanford Funding LLC
                                          19-02 Whitestone Expressway, Suite 302
                                          Whitestone, New York 11357
                                          (718) 767-3333



               TO:

                     Gerard A. Geisweller, Esq.
                     Mattone Mattone Mattone LLP
                     134-01 20th Avenue
                     College Point, NY 11356

                     143-30 Sanford Ave LLC
                     143-30 Sanford Avenue
                     Flushing, NY 11355

                     Vincent Garofalo
                     158-15 Cross Island Parkway
                     Whitestone, NY 11357

                     New York City Environmental Control Board
                     100 Church Street, 1st Floor
                     New York, NY 10007

                     Commissioner of Labor State of New York
                     W.A. Harriman Campus, Building 12
                     Albany, NY 12227




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                     Thermal Profiles, Inc.,
                     c/o Milton Milbauer
                     100 Dupont St.
                     Plainview, NY 11803

                     Criminal Court of the City of New York
                     120-55 Queens Boulevard
                     Queens, NY 11424

                     Department of Housing Preservation and
                     Development of the City of New York
                     100 Church Street, Room 3-118
                     New York, NY 10007
                     Attn: Joy Anakhu, Esq.

                     Chenh Long S/H/A John Doe #2 in Apartment 5M
                     143-30 Sanford Avenue,
                     Flushing NY 11355

                     Han Zhang S/H/A John Doe #1 in Apartment 5M
                     143-30 Sanford Avenue,
                     Flushing NY 11355

                     Milagro Arivalo S/H/A Jane Doe #1 in Apartment 1H
                     143-30 Sanford Avenue,
                     Flushing NY 11355

                     Elisa Arivalo S/H/A Jane Doe #2 in Apartment 1H
                     143-30 Sanford Avenue,
                     Flushing NY 11355

                     Michael Perez S/H/A John Doe in Apartment 5E
                     143-30 Sanford Avenue,
                     Flushing NY 11355

                     Marian Zurita S/H/A Jane Doe in Apartment 4L
                     143-30 Sanford Avenue,


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                     Flushing NY 11355

                     Ian Montija S/H/A John Doe in Apartment 3J
                     143-30 Sanford Avenue,
                     Flushing NY 11355

                     Paola Montija S/H/A John Doe in Apartment 3J
                     143-30 Sanford Avenue,
                     Flushing NY 11355

                     Lisette Soto S/H/A Jane Doe in Apartment 2L
                     143-30 Sanford Avenue,
                     Flushing NY 11355

                     Jane Doe in Apartment 1E
                     143-30 Sanford Avenue
                     Flushing NY 11355

                     Victor Benitez S/H/A John Doe in Apartment 1E
                     143-30 Sanford Avenue,
                     Flushing NY 11355

                     Frank Bruno, Jr., Esq.,
                     Referee
                     69-09 Myrtle Avenue
                     Glendale, NY 11385




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